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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

MONSTER ENERGY COMPANY,
Case No. 16-cv-00622

Plaintiff,
Judge John J. Tharp, Jr.

V.
Magistrate Judge Susan E. Cox

XIANDA LIN, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on March 14, 2016 [51], in favor
of Plaintiff Monster Energy Company (“MEC”) and against the Defendants Identified in Schedule
A in the amount of two million dollars ($2,000,000) per Defaulting Defendant, and MEC
acknowledges payment of an agreed upon damages amount, costs, and interest and desires to
release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

 

Defendant Name Line No.

 

 

 

XOBD PLUS TOOLS TECH CO.,LTD 183

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 7th day of June 2019. Res lly submitted,

Amy C“Ziegler

Justin R. Gaudio

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Counsel for Plaintiff Monster Energy Company

Subscribed and sworn to me by Justin R. Gaudio, on this 7th day of June 2019.

Given under by hand and notarial seal.

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Official Seal ;
Notary Public - State of Illinois Notary Publie uw
My Commission Expires Nov 16, 2022

 

 

State of Illinois
County of Cook
